 AO 442 (Rev. 12/85) Warrant for Arrest

                                         UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                              WESTERN DIVISION


UNITED STATES OF AMERICA
                                                                                            WARRANT FOR ARREST

         V.
                                        RECEIVED
                                        By, USMS-E/NC at 5:09 pm, Ju/27, 2023 .·         CRIMINAL CASE: 5:23-CR-239
JOEL FITZGERALD HAMLIN




To: The United States Marshal and any Authorized United States Officer. YOU ARE HEREBY COMMANDED to arrest

JOEL FITZGERALD HAMLIN he/she shall be brought before the nearest Magistrate/Judge to answer an

_x_ Indictment _ _ Superseding Indictment -----''_Criminal Information._ _ _Complaint

_ _ Order of Court: _ _Violation Notice_ _Probation Violation Petition charging him/her with:


Counts 1 and 2 - 21 U.S.C. § 841(a)(l): Distribute a quantity of cocaine base (crack)
Count 3 - 21 U.S.C. § 841(a)(l): Possess with the intent to distribute a quantity of cocaine and a quantity of cocaine base (crack)
Count 4 - 18 U.S.C. §§ 922(g)(l) and 924: Possession ofa firearm by a convicted felon



                                                                         clerk of court
                                                                         Title of Issuing officer

                                                                         JULY 27, 2023 - RALEIGH, NORTH CAROLINA
signa                                       'y Clerk                     Date and Location

   Recommended Bond: DETENTION
                                                                    RETURN

    This warrant was received and executed with the arrest of the above named defendant at



    DATE RECEIVED                                 NAME AND TITLE OF ARRESTING                    NAME AND TITLE OF ARRESTING
    07/27/2023                                    OFFICER
    DATE OF ARREST
    08/04/2023                                    J. Mccann, FBI                                  s. 8t>,~-- ------, tlSMS
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                                                                                                                AUG O4 2023
                                                                                                            . PETER A. MOORE. JR., ClERK

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